
Campbell, Ch. J.
The plaintiff in error was charged with an assault with intent to commit rape, and was' convicted of an assault. He alleges error upon certain rulings on evidence, and upon the charge of the court.
There was one general exception to the entire charge of the court, pointing out no particular matters complained of in it.- It is very well settled that exceptions to a charge should be specific enough to show what parts of it are regarded as erroneous, or how it injuriously affects the rights of the party excepting. This rule is not controverted by the plaintiff as applicable under the old law; but it is suggested that under the law of 1869, requiring charges to be written, the charge becomes a part of the record, and is reviewable as an entirety.
There is no change brought about by that law in the nature or functions of a charge. It merely substitutes a written charge for an oral one. But the charge, as we held at the last term, in Hunter v. Parsons, can only be brought before us as it would have been formerly, by exceptions or case made. And the exceptions taken to it must be taken in the same way now as before. Its object is merely to give the jury proper instructions, and in very *222many cases, without the explanation of surrounding circumstances, its correctness could not be determined at all. The -bill of exceptions, if properly drawn, will show how far it is applicable to the facts s'hown on the trial, and what effect it may have been capable of in that application. But the record, aside from the bill, will not generally furnish all the means requisite for understanding its bearings on the controversy. We think the general exception taken must be disregarded.
The only errors properly assigned relate to the exclusion of certain testimony, designed to impeach the credit of the complaining witness. She had denied having had conversations with various persons concerning her expectation of receiving some profit out of the trial. She said she did not state to Ellen Pratt and Etta Conly that when she got through with Geary she could dress as well as they, for she would have three hundred dollars out of him; and said she never heard anything about three hundred dollars until that day. She denied saying to Mrs. Pratt “ that if the case was ever going to be tried, she wanted it tried right away, for she wanted whatever she should get out of it before she died.”
; When the defendant sought to show that -she had made these statements, the court refused to permit the proof to be made.
We think this proof should have been admitted. It is true that where a witness is cross-examined on matters purely collateral, the cross-examiner cannot inquire of other witnesses whether' the answers are truthful, because the inquiry would open irrelevant issues. But the interest or bias of a witness has never been regarded as irrelevant. It goes directly to his credit, and must determine with the jury how far facts depending on his evidence are to be regarded as proven. A party cannot be compelled to put *223up with the statements of a witness concerning his own interest or personal relation to the case or parties, where it becomes necessary to know his position. If the complaining witness here had expectations depending on Geary’s conviction, it was proper that the jury should know it; and if satisfied on that point, they might not regard her evidence just as they would if no such interest existed. There was a time when any direct interest would have excluded a witness entirely. The law, in putting all disturbing influences on the same footing and changing the rule of competency to a rule of credibility, has not made the question of interest collateral or irrelevant. It is still, as formerly, open to direct proof, and the witness may be impeached by showing contradictory statements regarding it. The administration of justice would be very defective if every witness could, without contradiction, make himself out impartial and disinterested, and run no risk of exposure. Under such a system the most dishonest witnesses would be likely to describe themselves as the most fair and reliable. For if such testimony is not regarded in law as material, and liable to disproof, there would be some difficulty in maintaining a charge of perjury upon it.
This is not a new question in this state. In Crippen v. People, 8 Mich. R., 117; Beaubien v. Cicotte, 12 Mich. R., 160; and Patten v. People, 18 Mich. R., 314, similar principles were involved; and we are satisfied the ends of justice will not permit any other practice to be adopted. The quality of testimony is as important as its substance.
The judgment must be reversed, and a new trial granted.
The other Justices concurred.
